      Case 1:14-cr-10363-RGS Document 2204 Filed 12/23/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
                       CRIMINAL NO. 14-10363-RGS

                      UNITED STATES OF AMERICA
                                      v.
                              GENE SVIRSKIY

                    MEMORANDUM AND ORDER ON
                   DEFENDANT’S RENEWED MOTION
                    FOR REDUCTION OF SENTENCE
                    AND COMPASSIONATE RELEASE

                             December 23, 2020

STEARNS, D.J.

      As stated in the May 29, 2020 memorandum denying the original

motion, the authority of a trial court to reduce the sentence of a committed

prisoner, unlike in the case of a pretrial detainee, is narrowly circumscribed.

Under 18 U.S.C. § 3582(c)(1)(A), the court may order a compassionate

reduction of sentence for a defendant in petitioner Svirskiy’s circumstances

only on a finding of “extraordinary and compelling reasons.” As the court

then observed, the only reason given by Svirskiy for release was a generalized

fear of the COVID-19 pandemic and its impact on the federal prison system.

And, as the court noted, by Svirskiy’s own account, he is young (in his late

30s) and “in general good health.” Def.’s Mot. (Dkt # 2176) at 3, 11. In his

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      Case 1:14-cr-10363-RGS Document 2204 Filed 12/23/20 Page 2 of 2




renewed motion, Svirskiy adds medical documentation of a personal history

of kidney stones, fatty liver disease, and cigarette smoking. I agree with the

Warden of FMC Devens’ assessment (as echoed by the government) that

these conditions do not amount to “a terminal or deteriorating medical

condition that would diminish your ability to function in a correctional

setting,” Gov’t’s Opp’n at 3, and as such do not present anything

“extraordinary or compelling” militating in favor of release. 1 Consequently,

the renewed motion is DENIED.


                              SO ORDERED.
                              /s/ Richard G Stearns
                              UNITED STATES DISTRICT JUDGE




      1
       The government also notes in its Opposition that no inmate at the
FMC Devens Camp where Svirskiy is housed has tested positive for COVID-
19. Gov’t. Opp’n at 3.


                                      2
